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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     STATE OF CALIFORNIA, et al.,                         Case No. 17-cv-05783-HSG
                                   8                    Plaintiffs,                           ORDER GRANTING MOTION TO
                                                                                              INTERVENE
                                   9              v.
                                                                                              Re: Dkt. No. 293
                                  10     HEALTH AND HUMAN SERVICES, et
                                         al.,
                                  11
                                                        Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          Pending before the Court is a motion to intervene filed by the States of Colorado,

                                  14   Michigan, and Nevada (the “Proposed Intervenors”). Dkt. No. 293. The Court finds this matter

                                  15   appropriate for disposition without oral argument and the matter is deemed submitted. See Civil

                                  16   L.R. 7-1(b).

                                  17          The Proposed Intervenors move for permissive intervention as plaintiffs under Federal

                                  18   Rule of Civil Procedure 24(b). The Ninth Circuit has interpreted the Rule to allow permissive

                                  19   intervention “where the applicant for intervention shows (1) independent grounds for jurisdiction;

                                  20   (2) the motion is timely; and (3) the applicant’s claim or defense, and the main action, have a

                                  21   question of law or a question of fact in common.” United States v. City of Los Angeles, Cal., 288

                                  22   F.3d 391, 403 (9th Cir. 2002) (quotation omitted). “In exercising its discretion” on this issue, “the

                                  23   court must consider whether the intervention will unduly delay or prejudice the adjudication of the

                                  24   original parties’ rights.” Fed. R. Civ. P. 24(b)(3).

                                  25          On January 8, 2025, the Court lifted the stay in this case in light of the withdrawal of the

                                  26   proposed rules that were published in the Federal Register on February 2, 2023. See Dkt. No. 521.

                                  27   The Court further reinstated the pending motions that were under submission prior to the stay,

                                  28   including the parties’ motions for summary judgment and this motion to intervene. Id. The
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                                   1   Proposed Intervenors confirmed that they are still seeking a ruling on the motion. Dkt. No. 522.

                                   2            Plaintiffs do not oppose the motion to intervene, but the Federal Defendants and Defendant

                                   3   Intervenors do. See Dkt. Nos. 299, 300. The Federal Defendants and Defendant Intervenors

                                   4   appear to acknowledge that all but one of the factors for permissive intervention are met here. Id.

                                   5   They argue, however, that the Proposed Intervenors’ motion is untimely and that granting the

                                   6   motion would facilitate forum shopping because the Proposed Intervenors waited to file their

                                   7   motion until after this Court had issued its ruling on Plaintiffs’ motion for a preliminary

                                   8   injunction. Id. The Court disagrees. The Proposed Intervenors explain that in January 2019, the

                                   9   preliminary injunction was limited to the parties in this case, at which point they had to evaluate

                                  10   whether their interests would be adequately protected by the existing parties. See Dkt. No. 234 at

                                  11   5. They filed their motion shortly after.

                                  12            The Proposed Intervenors intend to join Plaintiffs’ briefing, see Dkt. No. 293, and in their
Northern District of California
 United States District Court




                                  13   most recent filing they confirmed that if their motion is granted, they will seek relief consistent

                                  14   with Plaintiffs’ pending motions for summary judgment, Dkt. No. 522. The Court finds that

                                  15   granting the motion would not cause any prejudice or delay under the circumstances. The Court

                                  16   therefore finds that Proposed Intervenors may enter this case as permissive intervenors and

                                  17   GRANTS the motion. Dkt. No. 293. As the Court previously explained, it will work

                                  18   expeditiously to address the pending motions for summary judgment.

                                  19            IT IS SO ORDERED.

                                  20   Dated:     3/31/2025
                                  21                                                     ______________________________________
                                                                                         HAYWOOD S. GILLIAM, JR.
                                  22                                                     United States District Judge
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